19-36300-cgm          Doc 54       Filed 08/07/19       Entered 08/07/19 08:44:22                Main Document
                                                       Pg 1 of 5


UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al., 1                                    )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

          INTERIM ORDER (I) AUTHORIZING THE PAYMENT OF CERTAIN
        PREPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”), (a) authorizing

the Debtors to pay certain accrued and outstanding prepetition Taxes and Fees, and (b) scheduling

a final hearing to consider approval of the Motion on a final basis, and (c) granting related relief,

all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York,

dated February 1, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
19-36300-cgm      Doc 54     Filed 08/07/19    Entered 08/07/19 08:44:22          Main Document
                                              Pg 2 of 5


notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on

September 4, 2019, at 10:30 a.m., prevailing Eastern Time. Any objections or responses to entry

of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

August 28, 2019, and shall be served on: (a) Barneys New York, Inc., 575 Fifth Avenue, New

York, New York 10017; Attn: Grace Fu; (b) proposed co-counsel to the Debtors, Kirkland & Ellis

LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Edward O. Sassower, P.C.,

Joshua A. Sussberg, P.C., and Gene Goldmintz, Kirkland & Ellis LLP, 300 North LaSalle Street,

Chicago, Illinois 60654, Attn: Chad J. Husnick, P.C. and W. Benjamin Winger, and Katten

Muchin Rosenman LLP, 575 Madison Avenue, New York, New York 10022, Attn: Steven J.

Reisman; (c) the United States Trustee, 11A Clinton Avenue, Room 620, Albany, New York

12207, Attn: Alicia Leonhard; (d) counsel to any statutory committee appointed in these chapter

11 cases; (e) counsel to the Prepetition ABL Agent, (x) Riemer & Braunstein LLP, 100 Cambridge

Street, Boston, Massachusetts 02114, Attn: Donald E. Rothman and (y) Riemer & Braunstein LLP,

Times Square Tower, Seven Times Square, Suite 2506, New York, New York 10036, Attn: Steven

E. Fox; (f) counsel to the Term Loan Agent, Choate Hall & Stewart LLP, Two International Place,

Boston, Massachusetts 02110, Attn: Kevin J. Simard and Mark Silva; (g) counsel to the DIP Agent
19-36300-cgm       Doc 54     Filed 08/07/19    Entered 08/07/19 08:44:22         Main Document
                                               Pg 3 of 5


and the DIP Lenders, Jones Day, 250 Vesey Street, New York, New York 10281, Attn: Sidney P.

Levinson, Michael Schneidereit, and Jeremy Evans; and (h) counsel to TPG Specialty Lending,

Inc., Schulte Roth & Zabel, 919 Third Avenue, New York, NY 10022, Attn: Adam Harris, Esq.,

Kristine Manoukian, Esq. and Kelly V. Knight, Esq. In the event no objections to entry of a final

order on the Motion are timely received, this Court may enter such final order without need for the

Final Hearing.

       3.        The Debtors are authorized, but not directed, to pay or remit (or use tax credits to

offset) Taxes and Fees, whether accrued prior to or after the Petition Date, that are payable during

the pendency of these chapter 11 cases at such time when the Taxes and Fees are payable in the

ordinary course of business. To the extent that the Debtors have overpaid any Tax or Fee, the

Debtors are authorized to seek a refund or credit.

       4.        Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Interim Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such
19-36300-cgm      Doc 54     Filed 08/07/19    Entered 08/07/19 08:44:22         Main Document
                                              Pg 4 of 5


liens. Any payment made pursuant to this Interim Order should not be construed as an admission

as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any

other party-in-interest’s rights to subsequently dispute such claim.

       5.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order without any duty of further inquiry and without liability for following the Debtors’

instructions.

       6.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Taxes and Fees.

       7.       Notwithstanding the relief granted in this Interim Order, any payment made by the

Debtors pursuant to the authority granted herein, or authorizations contained hereunder, shall be

subject to and in compliance with any orders entered by the Court approving the Debtors’ entry

into any postpetition debtor in possession financing facility and any budget in connection therewith

and/or authorizing the Debtors’ use of cash collateral and any budget in connection therewith. To

the extent there is any inconsistency between such orders and any action taken or proposed to be

taken hereunder, the terms of such orders and budgets shall control.

       8.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       9.       Notice of the Motion as provided therein shall be deemed good and sufficient notice
19-36300-cgm      Doc 54    Filed 08/07/19    Entered 08/07/19 08:44:22          Main Document
                                             Pg 5 of 5


of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       12.     Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due prior to the date of the Final Hearing.

       13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




                                                               /s/ Cecelia G. Morris
                                                               _______________________
Dated: August 7, 2019
                                                               Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                               Chief U.S. Bankruptcy Judge
